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A. That's a probable cause affidavit.

Q. Did you prepare that?

A. Yes.

Q. And what offenses did you have there as

offenses to be charged with?

A. Battery on a law enforcement officer,
operating a business in the city without a license,
city ordinance. That's it.

Q. And again it's correct that Mr. Arugu was
not charged with operating a business without a
license; correct?

MR. MCDUFF: Object to the form, lack of
foundation, mischaracterizes testimony.

Q. Mr. Arugu was not charged with operating
a business without a license; correct?

MR. MCDUFF: Object to the form,
mischaracterizes testimony.

A. That's incorrect. I charged him with
operating a business in the city without a license,
yes, aS indicated on the arrest report.

Q. Was Mr. Arugu formally charged in court
with operating a business without a license?

A. Are you referring to --

Q. Was Arugu formally charged in court with

operating a business without a license?

 

 

ESQUIRE DEPOSITION SERVICES (954) 331-4400
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responses.

4. In accordance with Local General Rule 26.1.1, Defendant’s counsel
certifies to the Court that it has attempted to confer with Plaintiff's counsel in
a good faith effort to resolve the issues raised in this motion. Specifically, on
January 9, 2002, Defendant’s counsel sent a letter to Plaintiffs counsel
demanding Plaintiffs responses to Defendant’s discovery request by January 18,
2001. To date, Defendant’s counsel have not received a response to the January
9, 2002, letter, nor have they received Plaintiff's responses to Defendant’s
discovery requests.

5. Even assuming, arguendo, that the requests were somehow objectionable,
in whole or in part, Plaintiff has waived any possible objections. See Fed. R.
Civ. P. 33(b)(4); Local Rules 26.1.G.6(a); Young v. United States, 149 F.R.D.
199, 206 (S.D. Ca. 1993) (party’s failure to serve timely objections to
discovery requests constitutes waiver of any objections which the party might
have to the requests).

6. Defendant therefore requests that the Court enter an order compelling
Plaintiff to respond immediately to Defendant’s Second Request for

Production.
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MEMORANDUM OF LAW
Rule 37 of the Federal Rules of Civil Procedure is clear and unambiguous concerning

Defendant’s entitlement to move for an order compelling discovery. Specifically, the Rule
states in pertinent part:

A party, upon reasonable notice to other parties and all persons

affected thereby, may apply for an order compelling disclosure

or discovery as follows: ...(B)... if party fails to answer an

interrogatory submitted under Rule 33, or if a party, in response

to a request for inspection submitted under Rule 34, fails to

respond that inspection will be permitted as requested or fails to

permit inspection as requested, the discovering party may move

for an order compelling an answer, or a designation, or an order

compelling inspection in accordance with the request.
Fed. R. Civ. P. 37(a)(2). In the instant case, Plaintiff's complete failure to respond to
Defendant’s discovery requests entitles Defendant to an order compelling the requested
disclosure.

The federal courts routinely grant motions to compel for a party’s failure to respond

to discovery requests. See Shearson Lehman Hutton, Inc. v. Lambros, 135 F.R.D. 195 (M.D.

 

Fla. 1990). Thus, because Plaintiff has refused to adequately provide complete discovery
responses, Defendant’s Motion should be granted.

WHEREFORE, it is respectfully requested that this Court enter an Order compelling
Plaintiff to respond to the Second Request to Produce propounded on November 28 2001. To
date, Plaintiff has failed to respond to the above-mentioned discovery requests, despite

undersigned counsel’s good faith effort to obtain Plaintiffs responses.
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Compel
has been furnished by mail delivery this OS day of January, 2002, to Odiator Arugu, Esq.,
The Florida Law Firm, PLC, 1999 W. Colonial Drive, Suite 213, Orlando, FL 32804-1847,
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